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3    (916) 447-1192
     Attorney for Defendant FRANK PAUL TURNER
4
                             IN THE UNITED STATES DISTRICT COURT
5                          FOR THE EASTERN DISTRICT OF CALIFORNIA

6

7
                                                    )
8    UNITED STATES OF AMERICA                             No. 2:09-CR-193 FCD
                                                    )
                                                    )
9                   Plaintiff,                            STIPULATION AND ORDER
                                                    )
            vs.
                                                    )
10                                                        Date: November 15, 2010
                                                    )
     FRANK PAUL TURNER, JR.                               Time: 10 am
                                                    )
11   et al                                                Judge: Hon. Frank C. Damrell, Jr.
                                                    )
                                                    )
12                  Defendants.

13
            IT IS HEREBY STIPULATED by and between the parties hereto through their
14
     respective counsel, JILL THOMAS, Assistant Untied States Attorney, attorney for Plaintiff,
15
     OLAF HEDBERG, attorney fo FRANK PAUL TURNER, JR., SHARI RUSK, attorney for
16
     LESLIE MILLER BELL, JR., and MICHAEL LONG, attorney for ANTHONY WILSON, that
17
     the status conference now scheduled for November 15, 2010 at 10:00 a.m. be vacated and a new
18
     date of January 10, 2011 at 10:00 a.m. be set for status conference. The parties continue to be
19
     involved in defense investigation; also, the parties have been negotiating the terms of a proposed
20
     plea agreement.
21

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1           It is further stipulated and agreed between the parties that the period beginning

2    November 15, 2010 and ending January 10, 2011, should be excluded in computing the time

3    within which the trial of the above criminal prosecution must commence for the purpose of the

4    Speedy Trial Act for defense preparation. All parties stipulate and agree that this is an

5    appropriate exclusion of time within the meaning of Title 18, United States Code, Section

6    3161(h)(8)(i) and Local Code T4.

7                                                          Respectfully submitted,
                                                           Dated this 11th day of November, 2010
8                                                          By /s/ Olaf Hedberg
                                                           Olaf W. Hedberg, Attorney at Law
9                                                          Attorney for Frank Paul Turner, Jr.

10                                                         Dated this 11th day of November, 2010
                                                           By /s/ Shari Rusk
11                                                         Shari Rusk, Attorney at Law
                                                           Attorney for Leslie Miller Bell, Jr.
12
                                                           Dated this 11th day of November, 2010
13                                                         By /s/ Michael Long

14                                                         Michael Long, Attorney at Law
                                                           Attorney for Anthony Wilson
15
                                                           Dated this 11th day of November, 2010
16                                                         Benjamin B. Wagner
                                                           United States Attorney
17                                                         /s/ Olaf Hedberg for Jill Thomas
                                                           Jill Thomas
18                                                         Assistant U.S. Attorney

19         IT IS SO ORDERED.

20   DATED: November 12, 2010
                                                      _______________________________________
                                                      FRANK C. DAMRELL, JR.
21                                                    UNITED STATES DISTRICT JUDGE

22                                               Page 2 of 2
